                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TENNESSEE
                           AT KNOXVILLE
 ________________________________________________________________

 IN THE MATTER OF S.B., A MINOR STUDENT,             )
 BY AND THROUGH HIS PARENTS,                         )
 M.B. AND L.H.;                                      )
                                                     )
 M.S., A MINOR STUDENT,                              )
 BY AND THROUGH HER PARENT, K.P.;                    )
                                                     )
 T.W., A MINOR STUDENT,                              )
 BY AND THROUGH HIS PARENTS, M.W.                    )
 J.W., AND                                           )
                                                     )
 M.K. A MINOR STUDENT,                               )
 BY AND THROUGH HER PARENT, S.K.                     )
                                                     )
                                                     )
              PLAINTIFFS.                            )
                                                     )
       VS.                                           )
                                                     ) No. 3:21−cv−00317−JRG−DCP
 GOVERNOR BILL LEE, in his official                  )
 capacity as GOVERNOR OF TENNESSEE, and              )
 KNOX COUNTY BOARD OF EDUCATION,                     )
                                                     )
              DEFENDANTS.                            )



   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT KNOX
       COUNTY BOARD OF EDUCATION’S MOTION TO STAY



       COME THE PLAINTIFFS, S.B., a minor student, and M.B. and L.H., the student’s

 parents/guardians, for their minor son; M.S., a minor student, and K.P., the student’s

 parent/guardian, for her minor daughter; T.W., a minor student, and M.W. and J.W., the

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 student’s parent/guardian, for their minor son; and M.K. a minor student, and S.K, the student’s

 parent/guardian, for her minor daughter, and respond to Defendant Knox County’s Motion to

 Stay as follows:

        I.       KNOX COUNTY’S MOTION SHOULD BE DENIED FOR THE SAME
                       REASONS REFLECTED IN THE COURT’S ORDER
                        GRANTING PRELIMINARY INJUNCTION

         Knox County’s motion is ill-considered.

         The Court already heard the evidence in a full day’s hearing during which Knox County

 testified that it can in fact, and did in fact, implement a universal masking policy the previous school

 year. The Court already determined that Plaintiffs, not Knox County, are likely to succeed on the

 merits, the status quo is health-threatening, and the public interest favors the reasonable

 accommodation of universal masking.

         Medically, Plaintiffs have agreed that exemptions should be made for children (and adults)

 with disabilities that make them unable to wear masks, though it is the rare situation. Legally, since

 the Court’s Order, the United States Department of Justice has not only echoed this Court’s ruling

 but cited it in its Statement of Interest in similar litigation in Texas. (See DOJ Statement of Interest,

 attached hereto as Exhibit A).

         Knox County’s remaining objections, it seems, involve identity politics or the occasional

 rabble-rouser having no medical or legal voice; they should not receive a platform. As Knox

 County’s own motion illustrates, any mayhem they cause must be dealt with through truancy

 measures and discipline available to Knox County, not an extraordinary motion to this Court asking

 for a reversal that would endanger the health and safety of students with disabilities during a

 pandemic.



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        For these reasons, Knox County’s motion should be denied.

                                     Respectfully submitted,



                                     GILBERT LAW, PLC

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                                     ATTORNEYS FOR PLAINTIFFS




                                     CERTIFICATE OF SERVICE

        I certify that this Response was served upon counsel of record for the Defendants, David

 Sanders and Amanda Morse for KCBOE and Reed Smith and Colleen Mallea for Governor Lee,

 through the Court’s ECF filing system on October 4, 2021.

                                                   /s Jessica F. Salonus




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